      Case 2:12-cr-00063-APG-CWH               Document 232      Filed 03/07/14     Page 1 of 2



 1
 2
 3
 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,           )
                                         )
 8                     Plaintiff,        )                Case No. 2:12-cr-00063-PMP-CWH
                                         )
 9   vs.                                 )                ORDER
                                         )
10   MELISSA HACK, ROSS HACK,            )
     and LELAND JONES,                   )
11                                       )
                       Defendants.       )
12   ____________________________________)
13          This matter came before the undersigned Magistrate Judge for hearing on several pending
14   pretrial motions on March 6, 2014. The Court heard oral argument and made several rulings on the
15   record. Those rulings, as generally captured in the Court’s minutes (#231), are as follows:
16          1. Defendants’ Motion to Inspect and Produce Personnel Files of Federal Law Enforcement
17   Officers (#183) was granted. The Government indicated in its response (#211) that it was aware
18   of its obligations under United States v. Henthorn, 931 F.2d 29 (9th Cir. 1991) and would comply
19   with those obligations.
20          2. Defendants’ Motion for Notice of Intent to Introduce Evidence Pursuant to Federal Rule
21   of Evidence 404(b) (#184) was granted. Near the end of the hearing, counsel for the parties
22   indicated that they had resolved this motion without further need for court intervention. The
23   Government agreed that it would produce 404(b) information at least 21 days before trial.
24          3. The parties discussed Defendants’ Motion for Pretrial Brady Information. (#185). The
25   undersigned will issue a written order.
26          4. Defendants’ Motion to Amend the Protective Order (#186) was granted. The parties
27   generally agree on the proposed amendments. To the extent there was disagreement, the
28   undersigned finds good cause to adopt the proposed amendments to the protective order (#108)
     identified and set forth in Defendants’ motion (#186) at 2:17-3:6.
      Case 2:12-cr-00063-APG-CWH              Document 232        Filed 03/07/14      Page 2 of 2



 1          5. The parties mentioned the pending Motion to Sever. (#197). The Court will address this
 2   by separate order.
 3          6. The parties and the Court discussed the pending Motion for Pretrial Determination of
 4   Federal Jurisdiction in 1998 Over the Geogrphic Area. (#198). The parties appear to agree that an
 5   evidentiary hearing is necessary. Thus, the parties shall submit a joint written status report by
 6   Tuesday, March 11, 2014 at 12:00 PM providing an estimate as to length of time such evidentiary
 7   hearing would last and the number of witnesses the parties anticipate calling. The Court will
 8   contact the parties to schedule an evidentiary hearing.
 9          7. The parties also discussed the recently filed Motion for Return of Property (#227), filed
10   by Defendant Ross Hack. Government counsel indicated that he did not believe there was any
11   objection, but that he needed additional time to determine whether the property in question was in
12   the Government’s custody. The Court hereby shortens time for the Government’s response to
13   Friday, March 14, 2014. Replies, if any, shall be filed by Tuesday, March 18, 2014.
14          IT IS SO ORDERED.
15          DATED: March 7, 2014.
16
17
                                                   ______________________________________
18                                                 C.W. Hoffman, Jr.
                                                   United States Magistrate Judge
19
20
21
22
23
24
25
26
27
28

                                                       2
